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             1     tAshley M. McDow (245114)
                   John A. Simon (admitted Pro Hac Vice)
             2     Shane J. Moses (250533)
                   FOLEY & LARDNER LLP
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             5            jsimon@foley.com
                          smoses@foley.com
             6
                   Attorneys for Debtors and Debtors in
             7     Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
                   INC., and SCOOBUR, LLC
             8

             9                                  UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA
           10                                        LOS ANGELES DIVISION

           11                                                    CASE NO. 2:19-bk-14989-WB
                   In re:                                        Jointly Administered:
           12                                                    2:19-bk-14991-WB; 2:19-bk-14997-WB
                   SCOOBEEZ, et al.1
           13                                                    CHAPTER 11
                            Debtors and Debtors in Possession.
           14                                                    ADVERSARY NO. 2:19-AP-01456-WB
                   Affected Debtor(s):
           15                                                    SUPPLEMENTAL PLEADING IN SUPPORT
                    All Debtors                                 OF DEBTORS’ MOTION FOR PRELIMINARY
           16                                                    INJUNCTION TO PREVENT VIOLATION OF
                    Scoobeez                                    THE AUTOMATIC STAY; DECLARATIONS
           17                                                    IN SUPPORT THEREOF
                    Scoobeez Global, Inc.
           18                                                    Hearing Date:
                    Scoobur LLC                                 Date: November 18, 2019
           19                                                    Time: 10:00 a.m.
                   SCOOBEEZ, INC.,                               Place: U.S. Bankruptcy Court
           20                                                           255 East Temple Street
                                                 Plaintiff,             Los Angeles, CA 90012
           21      v.

           22      AMAZON LOGISTICS, INC.,

           23                                    Defendant.

           24

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                   1
                    The Debtors and the last four digits of their respective federal taxpayer identification numbers
           28      are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The
                   Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.

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             1                                        I.      INTRODUCTION
             2            Plaintiff Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in
             3     possession (collectively “Debtors”) in the above-captioned chapter 11 bankruptcy cases
             4     (collectively the “Chapter 11 Cases”) hereby file this supplemental pleading in support of the
             5     Debtors motion for a preliminary injunction to prevent violation of the automatic stay [AP
             6     Docket No. 2], filed on October 25, 2019 (the “Motion”).
             7            The legal and factual basis for entry of a preliminary injunction is fully set forth in the
             8     Motion. This supplemental pleading is filed for the limited purpose of introducing additional
             9     evidence not in the records on the original Motion. It is abundantly clear that while the Debtors
           10      have a likelihood of presenting a plan that maximizes value if the status quo is preserved, any
           11      possibility of doing so will be destroyed if Amazon is allowed to rip the rug out from under the
           12      Debtors’ business.
           13

           14                                          II.     BACKGROUND
           15             On October 25, 2019, the Debtors filed an adversary complaint (the “Complaint”) against
           16      Amazon, initialing this above-captioned adversary proceeding (the “Adversary Proceeding”). 2
           17      The Debtors filed their Motion concurrently with the Complaint. The Complaint seeks
           18      injunctive and declaratory relief to enforce the automatic stay against Amazon, and damages for
           19      breach of the contractual duty of good faith and fair dealing. The Debtors anticipate amending
           20      the Complaint to also seek substantial damages as sanctions for violations of the automatic stay.
           21             The Debtors filed the Complaint and the Motion in order to prevent ongoing and
           22      threatened violations of the automatic stay by Amazon, which threaten destruction of the
           23      Debtors’ business and any possibility of a reorganization or sale to maximize value for the
           24      Debtors’ creditors. The full background and legal basis for entry of a preliminary injunction is
           25      set forth in the Motion.
           26
                          2
                            The plaintiff in the Adversary Proceeding is Scoobeez, Inc. (the “Plaintiff”), which is
           27      the Debtor entity that is party to the Amazon Agreement. For convenience, the term “Debtors” is
                   used herein to refer to the Debtors collectively, including the Plaintiff in this Adversary
           28      Proceeding.

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             1              The Court initially set the Motion for hearing on an emergency basis, on October 28,
             2     2019 (the “Emergency Hearing”), as to the Debtors’ request for a temporary restraining order
             3     (“TRO”). At the Emergency Hearing, the Court set a further hearing on entry of a preliminary
             4     injunction for November 18, 2019 (the “Preliminary Injunction Hearing”). The Court did not
             5     enter a TRO, pursuant to the agreement between the Debtors and Amazon, which was recited on
             6     the record at the Emergency Hearing, that Amazon will refrain from the following pending the
             7     Preliminary Injunction Hearing: (1) taking any actions to terminate any of the Amazon
             8     Contracts, as that term was defined in the Emergency Motion; (2) communicating with any of the
             9     employees of the Debtors in a manner inconsistent with the ordinary course of the relationship
           10      between the Debtors and Amazon, and (3) reducing routes assigned to the Debtors in a manner
           11      inconsistent with the previously established ordinary course of business between the Debtors and
           12      Amazon.
           13               At the Emergency Hearing, the Court also set a briefing schedule for the Preliminary
           14      Injunction Hearing, as set forth in the notice of preliminary injunction hearing filed by the
           15      Debtors on October 24, 2019 [AP Docket No. 17]. Pursuant to that briefing schedule, the
           16      Debtors are filing this supplemental pleading in support of entry of a preliminary injunction.
           17

           18        III.     INJUNCTIVE RELIEF IS NECESSARY TO PRESERVE THE ESTATE
           19               A.     Preservation of the Status Quo is Necessary to the Possibility of a Plan or
           20                      Sale To Maximizes Value for the Estates and Their Creditors
           21               There is a real possibility of a plan or transaction that maximizes benefit to creditors only
           22      if the status quo is preserved for a reasonable time under the Amazon Agreement. Scoobeez has
           23      focused its business on Amazon to the exclusion of all other customers, and therefore a sudden
           24      loss of Amazon business would be devastating. As set forth in the Declaration of George
           25      Voskanian appended hereto (the “Supplemental Voskanian Declaration”), however, prior to
           26      focusing exclusively on the Amazon business, the Debtors had a number of other customers, in
           27      other verticals of delivery.
           28

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             1            Given a reasonable transition period, Scoobeez management could focus on developing
             2     other lines of business. As set forth in the Supplemental Voskanian Declaration, there is a
             3     reasonable belief that this would be possible. If Amazon is allowed to pull the rug out from
             4     under Scoobeez, however, Scoobeez will not be able to support its infrastructure, including its
             5     employee base, and any transition would be virtually impossible.
             6            Further, Hillair has presented the Debtors with a confidential term sheet for a joint plan,
             7     which the Debtors expect to be the subject of negotiation regarding a potential joint plan of
             8     reorganization. Again, if Amazon is allowed to termination the Amazon Agreement, or
             9     effectively terminate by substantially reducing Routes from expected seasonal levels, this will
           10      not be possible.
           11             It is well established that “the Bankruptcy Court enjoys considerable authority which it
           12      may use to protect the general purpose and intent of the Bankruptcy Code as well as to enforce
           13      specific Code provisions.” See In re Family Health Servs., Inc., 105 B.R. 937, 943 (Bankr. C.D.
           14      Cal. 1989). Given that the Debtors have a reasonable possibility of successfully presenting a
           15      plan to maximize value for the creditors if the status quo is maintained, and virtually none if
           16      Amazon is allowed to act as it intends, it is appropriate to for the Court to enter a preliminary
           17      injunction. See In re First Alliance Mortg. Co., 264 B.R. 634 (C.D.C.A. 2001) (courts may
           18      consider likelihood of a successful plan with regard to entry of an injunction). In the Ninth
           19      Circuit, when evaluating likelihood of success on the merits for purposes of entry of a
           20      preliminary injunction, courts have looked to either likelihood of success in presenting a plan, or
           21      likelihood of success on other legal grounds.
           22             Here, given the timing with which these events have occurred, and Amazon’s unexpected
           23      ambush of the Sale process, it would be unreasonable to expect Scoobeez to present definitive
           24      plan terms or evidence of confirmability. For purposes of entry of a preliminary injunction, it
           25      should be sufficient that there is a possibility of a plan with an injunction, and none without.
           26             B.      There is a Long Course of Dealing Between Scoobeez and Amazon
           27                     Supporting Reasonable Expectations as to Route Levels
           28             Amazon has historically, prior to the past two months, provided consistent Route levels,

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             1     with predictable seasonal fluctuation. Attached as Exhibit A to the Supplemental Voskanian
             2     Declaration is a true and accurate chart showing monthly total Routes from the beginning of
             3     2018 through the present. This clearly shows bother the reliability of Route levels prior to the
             4     last two months, and the sudden decrease in the past weeks, concurrent with Amazon articulating
             5     an intent to terminate the Amazon Agreement.
             6                                         IV.     CONCLUSION
             7            For all the reasons set forth in the Motion and herein, the Debtors respectfully request
             8     that the Court enter a preliminary injunction to preserve the status quo by requiring Amazon to
             9     maintain the current level of Routes, seasonally adjusted, pending the entry of an order for
           10      assumption or rejection of the Amazon Contract.
           11
                   DATED: November 4, 2019                        FOLEY & LARDNER LLP
           12

           13
                                                                  /s/ Shane J. Moses
           14                                                     Shane J. Moses

           15                                                     Attorneys for Debtors and Debtors-in-Possession
                                                                  SCOOBEEZ, SCOOBEEZ GLOBAL, INC., and
           16                                                     SCOOBUR, LLC

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                                               SUPPLEMENTAL PLEADING IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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    1                                  DECLARATION OF GEORGE VOSKANIAN
    2   I, George Voskanian, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am the Chief Financial Officer and Co-Chief Executive Officer for the Debtors, and, in
    6   those capacities, among other, maintain books, records, files and documents relating to the Debtors. As
    7   such, I am generally responsible for managing the operations of the Debtors and, thus,am familiar with
    8   the Debtors’ operations, assets, and liabilities. In the ordinary course of business, I rely on the
    9   maintenance of true and correct copies of various documents relating to the Debtors. I have personally
  10    worked on books, records, files and documents, and as to the following facts, I know them to be true of
  11    my own knowledge or I have gained knowledge of them from my business records, which were made at
  12    or about the time of the events recorded, and which are maintained in the ordinary course of the
  13    Debtors’ business at or near the time of the acts, conditions or events to which they related.
  14               3.   I make this declaration in support of the Debtor’s motion to a preliminary injunction
  15    [Docket No. 002] (the “Motion”), and the supplemental pleading in support of the Motion, to which this
  16    declaration is annexed.1
  17               4.   Attached hereto as Exhibit A is a true and accurate chart showing total Routes per month
  18    under the Amazon Contract for 2018 and 2019 to date. This shows that overall Routes have been
  19    consistent from month to month, with expected seasonal increase over the last quarter. This also further
  20    shows that whereas 2018 showed the expected seasonal increase in Routes entering the fall, Routes have
  21    taken a sharp downturn in just the past two months.
  22               5.   I believe that Scoobeez has the technology, know-how, and workforce to pursue other
  23    business verticals within the delivery transportation sector, given a reasonable amount of time to
  24    transition.
  25               6.   Prior to devoting Scoobeez efforts entirely to the Amazon business, Scoobeez had other
  26    customers, including Hopsy, Inc., a Northern California beer distributor; Eat24 (then owned by Yelp,
  27

  28    1
          All capitalized terms used herein shall have the same meaning ascribed in the Motion, unless otherwise
        stated.
                                                DECLARATION OF G. VOSKANIAN ISO MOTION FOR PRELIMINARY INJUNCTION
                                                          -1-
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    1   Inc., now owned by Grubhub, Inc.), a food-ordering platform; and Thistle Health, Inc., a Northern
    2   California Food Service Company.
    3              7.     With sufficient runway, Scoobeez management would be able to market to develop new
    4   customer opportunities. A sufficient transition time is necessary for cash flow purposes, in or to
    5   maintain the existing infrastructure and on-going business, and to use the existing platform while
    6   marketing to new customers. If the Amazon Agreement is terminated without a sufficient runway, it
    7   will be impossible to transition to other customers, because Scoobeez would not have the financial
    8   ability to maintain any of its current infrastructure.
    9              8.     Amazon’s actions, and communications of Amazon employees to Scoobeez employees
  10    have already done significant to Scoobeez ability to maintain its workforce. On a number of occasions,
  11    Scoobeez employees have reported being told by Amazon employees that Scoobeez routes are being
  12    reduced.
  13               I declare under penalty of perjury under the laws of the United States of America that the foregoing
  14    is true and correct to the best of my knowledge, information and belief.
  15               Executed this 4th day of November, 2019.
  16

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  18                                                              GEORGE VOSKANIAN
                                                                  Co-CEO and Chief Financial Officer
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                                                  DECLARATION OF G. VOSKANIAN ISO MOTION FOR PRELIMINARY INJUNCTION
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                           EXHIBIT A
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                                                             Total Route Counts
16,000


14,000                                              12,750
                                                                               12,004                                                            13,453
                                                                                              12,077
12,000                                                               10,687
         9,889                                                                                                10,693                  11,462
                                          9,118
                               9,277                                                                                               10,232
10,000              8,138


 8,000                                                                                                    9,263         9,643
                                                                                            9,030
                                                                               8,759
          8,032                                       7,875         8,071
                                  8,009    7,571
 6,000
                       7,068

 4,000


 2,000


    -
         January   February    March        April     May           June       July        August      September   October      November    December

                                                              Total 2018      Total 2019
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    1                                        DECLARATION OF SHANE MOSES
    2   I, Shane Moses, hereby declare as follows:
    3              1.     I am an attorney duly authorized to practice before the above-referenced court. I am of
    4   counsel with the law firm of Foley & Lardner LLP, proposed general insolvency counsel for Scoobeez;
    5   Scoobeez Global, Inc.; and Scoobur, LLC (collectively, the “Debtors”), the debtors and debtors in
    6   possession in the above-captioned, jointly administered bankruptcy cases.
    7              2.     Unless otherwise stated, I have personal knowledge of the matters set forth herein, and if
    8   called as a witness, could and would competently testify to the same.
    9              3.     I make this declaration in support of the Debtor’s motion to a preliminary injunction
  10    [Docket No. 002] (the “Motion”), and the supplemental pleading in support of the Motion, to which this
  11    declaration is annexed.1
  12               4.     On Sunday, November 3, 2019, the Debtors received confidential terms from Hilliar for a
  13    proposed joint plan. Although there has not been an opportunity for meaningful negotiations yet, given
  14    the timing, it is expected that the Debtors and Hilliar will engage in ongoing negotiations regarding a
  15    joint plan.
  16               I declare under penalty of perjury under the laws of the United States of America that the
  17    foregoing is true and correct to the best of my knowledge, information and belief.
  18               Executed this 4th day of November, 2019.
  19
                                                                        /s/ Shane J. Moses
  20

  21                                                             Shane J. Moses

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  28    1
          All capitalized terms used herein shall have the same meaning ascribed in the Motion, unless otherwise
        stated.
                                                                         DECLARATION OF S. MOSES ISO MOTION FOR TRO
                                                           -1-
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                                                    PROOF OF SERVICE OF DOCUMENT
           I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
           555 South Flower Street, Suite 3300, Los Angeles, CA 90071

           A true and correct copy of the foregoing document entitled (specify): SUPPLEMENTAL PLEADING IN SUPPORT OF
           DEBTORS’ MOTION FOR PRELIMINARY INJUNCTION TO PREVENT VIOLATION OF THE AUTOMATIC STAY;
           DECLARATIONS IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
           manner required by LBR 5005-2(d); and (b) in the manner stated below:

           1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
           Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
           11/4/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
           following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

           Richard W Esterkin richard.esterkin@morganlewis.com
           John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
           Ashley M McDow amcdow@foley.com,
           sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
           Shane J Moses smoses@foley.com
           Jennifer L Nassiri jennifernassiri@quinnemanuel.com
           David L. Neale dln@lnbyb.com
           United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
           Eric D Winston ericwinston@quinnemanuel.com                      Service information continued on attached page

           2. SERVED BY UNITED STATES MAIL:
           On (date) 11/4/2019,I served the following persons and/or entities at the last known addresses in this bankruptcy case or
           adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
           postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
           be completed no later than 24 hours after the document is filed.
           Honorable Julia W. Brand
           United States Bankruptcy Court
           Central District of California
           Edward R. Roybal Federal Building and Courthouse
           255 E. Temple Street, Suite 1382
           Los Angeles, CA 90012
                                                                                      Service information continued on attached page

           3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
           for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
           the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
           such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
           that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
           filed.
                                                                                       Service information continued on attached page

           I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

             11/4/2019                      Shane Moses                                                     /s/ Shane Moses
             Date                            Printed Name                                                   Signature




                       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

           June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
2-7948.1
